            Case 4:00-cr-40020-JPG                       Document 122 Filed 05/02/07                          Page 1 of 2
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                                                                   #122
                (Rev. 12/03) Judgment in a Crlmlnal Case for Revocations
                                                                                                                          FILED
                                                                                                                            Page ID

                Sheet I

                                                               CLIRK, U.S. DISTRICT Tt'VnT
                                        UNITEDSTATES
                                                   DISTRICT
                                                          COURT
                                                              SOUTHERN DISTRICT OF ILLih'ii3
                                                                                                                           BENTON OFFlCE
                        SOUTHERN                                      District of                                   ILLINOIS

         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               v.                                            (For Revocation of Probation or Supervised Release)
                    DON JOE SPENCE
                                                                             Case Number: 4:00CR40020-003-JPG
                                                                             USM Number: 05012-025
                                                                              Judith A. Kuenneke, FPD
                                                                             Defendant's Attorney
THE DEFENDANT:
I$   admitted guilt to violation of condition(s) as alleged in petition                        of the tern of supervision.
     was found in violation of condition(s)                                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                     Nature of Violation                                                              Violation Ended
 Statutorv                            The defendant admited to the use of cocaine                                      1/6/2007




       The defendant is sentenced as provided in pages 2 though                     2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                        and is discharged as to such violation(s) condition


                                                           Y
         It is ordered that the defendant must noti the United States attorney for this district within 30,days of any , ,
change of name, residence, or mailing address unti all fines, restitution, costs, and special assessments imposed by thls judgment are
fully pa~d.If ordered to pay restltutlm, the defendant must not~fythe court and Un~tedStates attorney of mater~alchanges in
economic circumstances.

Defendant's Soc. Sec. No.:     XXX-XX-XXXX                                    411812007
                                                                             Date of Imposition of Judgment
Defendant's Date of Birth:     -11       960


Defendant's Residence Address:

Tamms, IL
                                                                              J. Phil Gilbert                                  District Judge
                                                                             Name of Judge                                   Title of Judge




Defendant's Mailing Address:

Tamrns, IL
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                                                                  #123
  A0245D      (Rev. 12103 Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                       Judgment- Page   2of        2
 DEFENDANT: DON JOE SPENCE
 CASE NUMBER: 4:00CR40020-003-JPG


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of :
24 months




          The court makes the following recommendations to the Bureau of Prisons:




       6$ The defendant is remanded to the custody of the United States Marshal.

       El The defendant shall surrender to the United States Marshal for this district:
                at                                       a.m.           p.m.    on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
  I have executed this judgment as follows:




           Defendant delivered on                                                         to

  at                                                    with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                               BY
                                                                                                  DEPUTY LlNlTED STATES MARSHAL
